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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 BYRON THOMAS,

                Plaintiff,                            CIVIL ACTION NO. 4:17-CV-40086-TSH
 v.

 LVNV FUNDING, LLC and SOLOMON AND
 SOLOMON, P.C.,

                Defendants.


                                  NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that Plaintiff, Byron Thomas, and Defendant, Solomon and
Solomon, P.C. in the above-referenced case have reached a settlement. These parties anticipate
that a stipulation of dismissal with prejudice pursuant to Fed. R. Civ. 41(a) will be filed within the
next 30 days. Accordingly, Plaintiff Thomas respectfully request this court issue a 30-day nisi
order with respect to these parties.


 Plaintiff,
 Byron Thomas
 By his attorney,
 _/s/ Christopher Brine_____________
 Christopher M. Brine, BBO# 679289
 Brine Consumer Law
 100 Grove Street, Suite 210
 Worcester, MA 01605
 508-556-1899
 508-556-9951 (facsimile)

 Dated:       October 27, 2017


                                 CERTIFICATE OF SERVICE

I, Christopher M. Brine, certify that the documents filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                    /s/ Christopher M. Brine
                                                    Christopher M. Brine
